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UNITED STA TES DIS'TRICT COURT




FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                   L
RICHMOND DIVISION

                                                                             MAR I 2 2025
                                                                       CLfeRK, U.S. DISTRICT COURT
                                                                             RICHMOND, VA
Rebecca Thornock.


Plaintiff.




V.




Internal Revenue Service, et al..

Defendants.




Case No. 3:25-cv-00134-.IAG




PLAIN TIFT'S RES1T)NSE IN OPPOSI TION TO DEFENDANTS' RESPONSE TO


TEMPORARY RESTRAINING ORDER (TRO)



INTRODUCTION




Plaintiff Rebecca Thornock. acting pro se, submits this Response in Opposition to Defendants'

Response to PlaintilTs Motion ibr a Temporan’ Restraining Order {'TRO) and urges this Court to
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reject Defendants’ procedurally driven attempts to dismiss this case without addressing the

fundamental due process violations at its core.



This case represents an outrageous abuse of power and procedural manipulation by the federal

government. While the IRS's well-compensated attorneys sit in their offices crafting convoluted

legal arguments designed to block Plaintiff from her day in court, Plaintiff—a mother of three

small children—has been left jobless, facing eviction, and struggling to survive while forced to

fight this pro se. While her husband has to drive 45 minutes from their home to the federal

courthouse, pay $1.30 to park, go through security which involves turning off your phone and

putting it into a locked pouch, removing your shoes and belt if necessary to go through the metal

detector and get past the armed guards, going up to the third lloor and filing everything. He does

this two to three times per week to make sure that these tight deadlines are met and everything is

filed on time. While the opposing counsel has an entire well paid and highly educated legal team

to battle with us that sit in the comfort of their desks and file through the PACER System that the


Eastern Federal District court refuses to provide filing access to pro se litigants for some

unknown reason while other federal courts do. Additionally, the defendant gets to enjoy a calm,

cool, and collected environment while the Plaintiff is enduring clear high distress! The clear bias

in favor of oppressive power is clear in even its physical manifestation.



The disparity in not just in physical burden- it extends to procedural advantage. At every stage.

Defendants have chosen to litigate through delays and obstruction rather than addressing the

merits of the case. Their latest filing is yet another attempt to proceduralize this case to death
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rather than confronting the reality that the IRS engaged in a mass termination directive that

violated due process.



Furthermore, they should not have had the time to be able to mount this type of robust and

complex procedural argument against a TRO to begin with if the TRO had properly been ruled

on at the beginning like it should have been! I heir response, which attempts to evade the merits.

is only possible because of a delay that should not have occurred. While the government has the

audacity to argue dismissal on lack of service when the FRO still hasn't been ruled on. The

Court should not permit the government to weaponize its own inaction as a shield against

accountability.




    ●   Defendants do not dispute that Plaintiff was terminated without cause or individual

        review.




    ●    They do not attempt to justify the IRS's actions or argue that Plaintiff received any

        meaningful procedural protections.

    ●    Instead, they rely on vague procedural defenses, designed to prevent this Court from

        even considering the merits of the case.




The gross injustice of this litigation cannot be ignored. Plaintiff s life has been upended, her

financial security stripped away, and her ability to provide for her I'amily jeopardized—while

government attorneys collect their paychecks and play procedural games.
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This Court must not reward this type of bureaucratic obstruction. It must reject Defendants'

arguments and grant Plaintiff the emergency relief she desperately needs.



Furthermore, the Court's failure to rule on Plaintiff s TRO effectively nullifies her ability to seek


emergency relief. The Constitution does not permit Judicial silence when fundamental rights are

at stake. Given the urgency and the irreparable harm outlined in this motion, the Court's

continued inaction should itself be subject to review. Plaintiff requests a formal statement of

justification for this delay, including the specific legal rationale for withholding a ruling on a

motion where Defendants have presented no substantive rebuttal. If no justification can be

provided, the Court must rule immediately in favor of Plaintiff s TRO.



But rather than addressing the constitutional violations at the heart of this case. Defendants

present a series of bloated arguments designed to obscure the truth. In response to these

BLOATED and POMPOUS procedural arguments, the Plaintiff presents the following:
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ADDRESSING THE PLAINTIFF^S RESPONSE:




Defendants fail to provide any merit-based justification for their unlawful termination of

Plaintiff. Instead, they rely on procedural technicalities to argue that:



         The Civil Service Reform Act (CSRA) precludes judicial review of Plaintiff's claims.

    2.   Plaintiffs liberty interests were not impaired by the IRS's Actions

    3.   Plaintiff has no property interest in her employment.

   4.    Government exhaustion has not been completed.

    5.   Plaintiff has not suffered irreparable harm.

    6.   Mass termination and retaliation claims are contradictory

    7.   The mass termination policy was not procedurally defective

    8.   Mass termination cannot be used as a retaliatory tool



Each of these arguments is legally and factually flawed and must be rejected.



First, the CSRA does not provide an adequate remedy for Plaintiff s claims, making judicial

review necessary. The Supreme Court has explicitly held that when no meaningful

administrative remedy exists, constitutional claims must be heard in federal court.



Second. Plaintiff had a legitimate expectation of continued employment and was terminated as

part of a mass firing directive, not for cause or performance-re lated reasons. When the
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government terminates employees arbitrarily or systematically without due process, courts have

repeatedly recognized a property interest requiring procedural protections.



Third, Plaintiff has suffered, and continues to suffer, irreparable harm, including housing

instability, financial devastation, and severe emotional distress. The Court's delay in ruling on

the TRO has only intensified the harm. The government's claim that back pay or reinstatement is

an adequate remedy ignores the rcal-world consequences of being suddenly terminated with no

due process, no recourse, and no opportunity to secure alternative employment.



This Court must not allow Defendants to evade constitutional scrutiny through procedural

evasion. The IRS's unlawful mass termination directive violates due process and has caused


catastrophic harm to Plaintiff and similarly situated employees.



For these reasons, Plaintiff respectfully requests that this Court grant the TRO and reject

Defendants’ attempts to dismiss this case on technicalities.




I. The Civil Service Reform Act (CSRA) Does Not Preclude .Judicial Review



Defendants incorrectly argue that the CSRA is the exclusive remedy for Plaintiffs claims and

that the Court lacks jurisdiction to hear this case. However, this argument ignores well-

established Supreme Court precedent that permits judicial review of constitutional claims when

no adequate alternative remedy exists.
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A. The CSRA Provides No Meaningful Remedy for Plaintiffs Claims



The CSRA does not provide due process protections for probationary employees, meaning that

Plaintiff had no administrative forum to challenge her termination.

● Because probationary employees are excluded from the Merit Systems Protection Board

(MSPB) appeal process, Plaintiff had no meaningful opportunity to contest her firing through

administrative channels.


● In cases where a statute fails to provide an adequate remedy, courts have consistently ruled that

judicial review is required.

● The government's argument that the CSRA bars this case entirely is legally incorrect and

contradicts Supreme Court rulings.



Cite Case Law:


Webster v. Doe. 486 U.S. 592 (1988):

● The Supreme Court ruled that even where a statutory scheme exists, judicial review cannot be

entirely foreclosed for constitutional claims.

Elgin V. Department of Treasury, 567 U.S. 1 (2012):

● The Court acknowledged that the CSRA generally preempts district court review but

emphasized that an alternative remedy must exist for constitutional violations. Here, no such

remedy exists.




B. This Case Falls Under the Constitutional Exception to CSRA Exclusivity
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The government ignores an essential carveout recognized in Supreme Court precedent—that

district courts retain jurisdiction over constitutional claims when no alternative remedy is

available.


● This is not simply an employment dispute—PlaintilTs claims arise from a systemic due process

violation affecting thousands of probationary employees who were fired under a mass

temiination directive.


● If the Court accepts Defendants' position, it would create a dangerous precedent allowing the

government to mass-terminate employees with no due process or judicial oversight.

● No existing administrative process allows Plaintiff to challenge the legality of the mass firing

directive, making judicial review essential.




The Supreme Court has explicitly ruled that statutory schemes cannot preclude judicial review of

constitutional claims. Webster v. Doe. 486 U.S. 592 (1988), confirms that even where

administrative remedies exist, district courts retain jurisdiction to review constitutional

violations. Similarly, in Elgin v. Department of Treasury. 567 U.S. 1 (2012), the Court

acknowledged that CSRA generally preempts district court review but emphasized that an

alternative remedy must exist for constitutional violations. Here, no such remedy exists-

Defendants fail to identify any forum where Plaintiffs due process claims could be heard.

making federal judicial review essential.



Cite Case Law:


Free Enterprise Fund v. PCAOB, 561 U.S. 477 (2010):
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● The Supreme Court ruled that where a statutory scheme does not provide a way to challenge

constitutional violations, judicial review must be available.

 Davis V. Passman, 442 U.S. 228 (1979):

● The Court held that where Congress has failed to provide an adequate remedy, plaintiffs must

be able to seek relief through the courts.



C. The Government’s Argument Ignores the Larger Due Process Violation at Play



The government's attempt to proceduralize this case out of existence ignores the constitutional

gravity of Plaintiff s claims.

● This is not just about Plaintiff s job—it is about the systemic deprivation of due process rights

through a mass termination directive.

● Defendants’ argument would strip thousands of employees of constitutional protections.

making due process meaningless for probationary federal workers.

● The CSRA was never intended to be a shield against constitutional scrutiny of mass firings

conducted without due process.



Courts have an obligation to prevent statutory^ schemes from being weaponized against

fundamental constitutional rights.



The government cannot hide behind procedural barriers to avoid judicial scrutiny for a mass

termination directive that violated due process.
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D. The Court Has the Authority to Hear 'Phis Case




Since no administrative remedy exists under the CSRA, this Court has jurisdiction to hear

Plaintiff s claims. The government’s attempt to dismiss this case on procedural grounds must be

rejected.




II. Plaintiff s Liberty Interest Was Impaired by the IRS's Actions



The government claims that Plaintiff has no liberty interest in continued employment because the

termination was not made public. This argument is legally incorrect for several reasons:

1. Stigma or Reputational Harm Is Not the Only Basis for a Liberty Interest Claim

● The Supreme Court has recognized that government action that severely limits future

employment opportunities can constitute a deprivation of liberty (Board of Regents v. Roth. 408

U.S. 564 (1972)).

● The IRS termination was conducted in such a way that Plaintiff was left without recourse.

impacting her ability to secure stable employment.

2. Public vs. Private Disclosure Does Not Fully Determine Liberty Interest Violations

● The government argues that because Plaintiff s termination was not publicly announced, no

liberty interest was affected.

● However, the impact of the termination on Plaintiffs professional reputation, financial

stability, and ability to continue federal employment is significant and ongoing.

● Courts have held that even private employment actions can trigger liberty interest claims when

they involve blacklisting or barriers to future employment (Paul v. Davis, 424 U.S. 693 (1976))
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III. Plaintiff Has a Legitimate Property Interest in Her Employment



Defendants argue that Plaintiff has no property interest in her job because she was a probationary

employee and therefore not entitled to due process protections. However, this argument fails for

multiple reasons:

1. The Government's Own Conduct Created a Legitimate Expectation of Continued Employment

2. Probationary Status Does Not Eliminate Due Process Protections When Mass Firings Occur

Arbitrarily

3. Case Law Supports Due Process Protections in Situations of Retaliatory or Arbitrary

Termination




A. The Government's Own Conduct Created a Legitimate Expectation of Continued

Employment




Due process is required when an employee has a legitimate expectation of continued

employment, even if classified as probationary.

● Plaintiff was hired under a standard probationary period but was performing at a satisfactory

level with no disciplinary actions or performance warnings.

● Prior to the mass firing directive. Plaintiff had every reason to expect continued employment,

as there was no formal notice, performance review, or warning indicating her Job was at risk.
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● The IRS provided no individualized reason for lerminalion, instead applying a blanket firing to

an entire class of employees—a key factor that distinguishes this case from standard

probationary employment rulings.



The government's use of probationary status as a shield against due process violations ignores

the reality that Plaintiff was terminated in a mass firing without individualized review.




 Courts have ruled that when the government acts in a way that creates an expectation of

continued employment, due process protections can still apply.



 Plaintiff s termination was not due to performance or misconduct, but due to a broad and

indiscriminate policy—further supporting the need for due process protections.



The government's argument that Plaintiff has no liberty interest ignores established precedent.

The Supreme Court has recognized that government action that severely limits future

employment opportunities can constitute a deprivation of liberty (Board of Regents v. Roth, 408

U.S. 564 (1972)). The IRS termination was conducted in such a way that Plaintiff was left

without recourse, impacting her ability to secure stable employment. Moreover, public versus

private disclosure does not determine whether a liberty interest is affected—loss of government

employment under unconstitutional conditions is itself sufficient to trigger due process

protections.



Cite Case Law:
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 Board of Regents v. Roth, 408 U.S. 564 (1972):

● The Supreme Court ruled that a property interest in employment exists when an employee has a

legitimate expectation of continued employment.

 Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532 (1985):

● Even employees who can be fired w'ithout cause are still entitled to due process if the

government creates an expectation of continued employment.




B. Probationary Status Does Not Eliminate Due Process Protections When Mass Firings Occur

Arbitrarily




Even if Plaintiff were an at-will or probationary employee, that does not automatically eliminate

her due process rights.

● While individual terminations for cause might not trigger due process, mass firings under an

arbitrary and unconstitutional directive do.

● The Court must assess the broader context—whether due process is required depends on


whether the government deprived Plaintiff of employment in a fundamentally unfair manner.

● Plaintiff was denied any opportunity to challenge her firing, making this a deprivation of rights

under color of law.




Mass firings without individualized review violate basic due process principles.

Even at-will government employees have been granted due process protections when the

government's action was arbitrary or retaliatory.
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Cite Case Law:


 Perry v. Sindermaiin, 408 U.S. 593 (1972):

● The Supreme Court ruled that even in the absence of formal tenure, an expectation of continued

employment can create due process rights.

 Giglio V. United States, 405 U.S. 150 (1972):

● Due process is required when the government deprives a person of a significant interest, even if

they are not traditionally entitled to job protection.

C. Case Law Supports Due Process Protections in Situations of Retaliatory or Arbitrary

Termination


● Even if the government had broad discretion to terminate probationary employees, it cannot do

so in a manner that violates due process.

● A mass termination directive that lacks procedural safeguards is fundamentally different from

an ordinary probationary firing.

● The Court must look beyond job classification and assess the systemic harm caused by this

mass firing without due process.



 Retaliatory and mass firings without due process have been struck down by courts even when

involving at-will or probationary employees.

 Plaintiff was entitled to at least some procedural protections before being removed under a

broad policy directive.
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Cite Case Law:


 Goldberg v. Kelly, 397 U.S. 254 (1970):

● Due process requires an opportunity to be heard before the government terminates an important

benefit, including employment.

 Mathews v. Eldridge, 424 U.S. 319 (1976):

● Even in cases where due process rights arc limited, courts must balance the government's

interest against the individual's right to procedural fairness.




Conclusion




The government's argument that Plaintiff has no property interest in her employment misapplies

the law and ignores key precedents. While probationary employees may not have traditional

tenure rights, they still have due process protections when terminated under an arbitrar>% mass

firing directive.




The Court must reject the government's attempt to erase due process protections and recognize

that Plaintiffs termination violated constitutional safeguards against arbitrary government

action.




IV. The Government's Exhaustion Argument Is Inapplicable
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The government argues that Plaintiff failed to exhaust administrative remedies and therefore

cannot bring this case to federal court. However:

1. The CSRA Provides No Remedy for Plaintiffs Claims

● Exhaustion is required only when an adequate administrative remedy exists (McCarthy v.

Madigan, 503 U.S. 140 (1992)).

● Because probationary employees are excluded from Merit Systems Protection Board (MSPB)

review, no meaningful remedy exists.

● Where no adequate remedy exists, exhaustion is not required (Davis v. Passman, 442 U.S. 228

(1979)).

2. Constitutional Claims Are Not Subject to Exhaustion Requirements

● Plaintiff is not bringing a routine employment claim but a constitutional challenge to an

unlawful termination process.

● I’he Supreme Court has ruled that statutory exhaustion requirements cannot override

constitutional claims (Webster v. Doe, 486 U.S. 592 (1988)).

● Because no administrative avenue exists to remedy a due process violation, federal courts retain

jurisdiction.




V. Plaintiff Has Suffered and Continues to Suffer Irreparable Harm



Defendants argue that Plaintiff s wrongful termination does not constitute irreparable harm

because she could potentially recover back pay or reinstatement at a later date. However, this
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argument fundamentally misunderstands the nature of irreparable harm and the ongoing.

compounding effects of the IRS's unlawful actions.



Plaintiff is not merely seeking lost wages—she is fighting to prevent continued financial

devastation, housing instability, and psychological distress that cannot be undone through later

compensation.




Additionally, as detailed in Plaintiffs Motion to Supplement the Record Regarding Ongoing

Retaliation, Housing Instability, and Financial Hardship, this Court's failure to act on the TRO

has exacerbated her harm and allowed third parties, including her landlord, to exploit her

financial vulnerability.

A. Financial Harm Alone Does Not Typically Constitute In-eparable Hann—But This Case is

Different




Defendants rely on the general principle that economic harm is not irreparable because money

damages can restore a plaintiff to their previous position. However, courts recognize exceptions

when:


1. The financial harm threatens the plaintiff s ability to meet basic needs, such as housing and

food.


2. The plaintiff is suffering immediate and severe consequences beyond financial loss, such as

mental distress, reputational damage, or being driven into financial ruin.

3. The governmenf s delay tactics or wrongful conduct have compounded the harm in ways that

cannot be remedied by future monetary compensation.
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 Plaintiffs case meets all three of these exceptions.



 Courts have granted injunctive relief in employment cases where the plaintiffs financial distress

is severe and ongoing.



Cite Case Law:


 Sampson v. Murray, 415 U.S. 61 (1974):

● The Supreme Court noted that financial loss alone does not constitute irreparable harm unless

extraordinary circumstances exist—such as extreme hardship, inability to pay for housing, or

health and safety risks.

 Davis v. Billington. 76 F. Supp. 3d 59 (D.D.C. 2014):

● A federal court granted a preliminary injunction in a wrongful termination case, recognizing

that prolonged unemployment can lead to extreme distress beyond mere economic harm.




B. The Court's Delay Has Compounded Plaintiffs Harm, Making Immediate Relief Necessary



Had the Court acted on Plaintiff s TRO request in a timely manner, she would not be facing

immediate eviction, financial devastation, and severe emotional distress. The government’s

wrongful actions set this crisis in motion, and the Court's failure to provide emergency relief has

now made matters worse.


● Plaintiff is facing imminent displacement, despite her family being fully paid on rent.
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● Her landlord. Bonnie James, has refused to grant a reasonable extension, despite knowing

Plaintiffs situation.


● James has engaged in harassment and intimidation, including bringing four unknown men to

the property and peering through Plaintiff s windows while she was alone with her children.

● This distress is not hypothetical or speculative—it is documented in a police report fled with

the Montpelier. Virginia Police Department under Case Number 25-038601.

● The financial vulnerability caused by the IRS's unlawful actions has emboldened third parties

to take advantage of Plaintiff s situation.



 Delays in adjudicating constitutional violations cannot be excused when they result in escalating

harm.


 The Court's failure to rule on the TRO has directly led to this spiraling crisis, making immediate

relief even more necessary.



Cite Case Law:


 Goldberg v. Kelly, 397 U.S. 254 (1970):

● The Supreme Court ruled that government benefits cannot be terminated without due process,

particularly when doing so results in immediate financial and housing instability.

 Puentes v. Shevin, 407 U.S. 67 (1972):

● The Court ruled that procedural delays cannot justify depriving individuals of due process

rights when their survival is at stake.
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C. The Psychological and Emotional Toll is Irreparable




The Supreme Court and federal courts have recognized that psychological harm, humiliation, and

emotional distress resulting from unlawful government actions can constitute irreparable harm.

● Plaintiff has experienced extreme distress due to the uncertainty and financial insecurity caused

by the IRS's wrongful termination.

● She has faced increasing anxiety and fear as she and her family approach eviction due to

circumstances entirely beyond her control.

● She was forced to seek charitable assistance from her church just to remain housed-     ●an




indignity and hardship that could have been avoided had the Court ruled on the TRO in a timely

manner.




 Mental and emotional distress caused by wrongful government action cannot be undone by back

pay alone.

 The damage to Plaintiffs well-being and stability is already occuiTing and will escalate further

without immediate relief




Cite Case Law:


 Doe V. Trump, 418 F. Supp. 3d 573 (D. Or. 2019):

● The court recognized that psychological distress, loss of dignity, and the inability to provide for

one's family are forms of irreparable harm.

 Bailey v. Anderson. 326 U.S. 203 (1945):

● The Supreme Court ruled that even temporary deprivation of fundamental rights constitutes

irreparable harm.
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VI. The Mass Termination and Retaliation Claims Are Not Contradictory




The government argues that Plaintiff s claim of mass terminations contradicts her assertion that

she was singled out for retaliation. This is a mischaracterizati on of the case and ignores the

broader constitutional implications at stake.


 1. Retaliation Can Occur Within a Mass Firing


● The government's position assumes that a mass termination cannot also involve retaliatory

intent against specific employees, which is incorrect.


● A mass firing directive can be a vehicle for retaliatory action by allowing bad actors within the

agency to terminate disfavored employees under the guise of a broader policy.


● Courts have recognized that broad, discretionary policies can be misused to conceal targeted

retaliation (Texas Dept, of Housing & Community Affairs v. Inclusive Communities Project,

Inc.. 576 U.S. 519(2015)).


2. The Absence of Individualized Review is Itself a Due Process Violation



● Even if Plaintiff was not the only one terminated, the lack of an individualized review process

deprived her of any meaningful opportunity to contest her termination.

● Courts have ruled that due process requires some level of procedural fairness, especially when

government actions impact fundamental rights (Mathews v. Eldridge, 424 U.S. 319 (1976)).


● This case is about the systemic lack of procedural safeguards, not just individual retaliation.
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3. I'he Government Has Provided No Evidence That This Was a Legitimate Workforce


Reduction



● If the government wants to argue that Plaintiff was not singled out. it must justify the

terminations with objective criteria and evidence that they were conducted in good faith.


● 'fhe IRS has offered no such justification-   only procedural arguments that ignore the due

process implications of mass firings.




VII. The IRS's Mass Termination Policy Was Procedurally Defective



Even if the IRS had the legal authority to terminate probationary employees, the process it

followed was arbitrary, lacked safeguards, and violated basic principles of due process.

1. Government Termination Policies Must Contain Procedural Safeguards


● Courts have ruled that even at-will or probationary employees are entitled to fundamental

fairness in government employment decisions (Perry v. Sindermann, 408 U.S. 593 (1972)).

● A blanket firing policy that does not allow for case-by-case review or rebuttal is inherently

flawed.


● The government has failed to demonstrate that any procedural protections were in place when

implementing these terminations.

2. 'fhe Mass Termination Process Did Not Provide Pre-Termination Notice or Opportunity to Be

Heard
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● Due process requires that employees receive notice and an opportunity to respond before

termination, even in cases where employees lack full property rights (Cleveland Bd. of Educ. v.

Loudermill. 470 U.S. 532 (1985)).

● Plaintiff received no prior notice, no hearing, and no chance to challenge her termination—this

is not just a procedural defect but a constitutional violation.

● Defendants have not presented any evidence that affected employees were informed of their

rights or provided an avenue for appeal.




VIll. Mass Termination Directives Can Be Used as a Retaliatory Tool




Defendants suggest that because many employees were impacted, no individual retaliation could

have occurred. This is a false premise because:

1. Mass layoffs can be designed to achieve specific internal objectives

● The IRS’s reduction in workforce may not have been aimed at simply downsizing but rather at

eliminating eertain employees or departments that had raised concerns, challenged policies, or

were perceived as obstacles to specific government interests.

● This kind of targeted downsizing under the cover of a broader directive has historically been

used as a strategic tool to remove employees without exposing the agency to direct retaliation

claims.


2. Not All Employees Were Terminated at the Same Rate or for the Same Reasons

● If the IRS’s goal was simply to reduce workforce numbers across the board, we would expect

to see uniform terminations applied proportionally across all divisions.
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● Instead, certain departments, regions, or roles were disproportionately affected, suggesting that

the directive was used as a pretext to selectively remove employees.

● Defendants have not provided data to refute this, nor have they disclosed whether particular

departments suffered greater job losses than others.



 A mass firing can still be weaponized to selectively remove employees under the guise of

agency-wide downsizing.




IX. The Government Has a History of Using Workforce Reductions to Target Internal

Opposition




 Government agencies have historically used workforce reductions as a means of silencing

dissent, punishing whistleblowers, and eliminating internal threats.

● Strategic downsizing has been used in the past by federal agencies to eliminate employees who:

● Opposed internal policy shifts

● Challenged agency misconduct

● Were seen as obstacles to executive priorities

● This pattern aligns with Plaintiffs case, in which her termination was closely tied to broader

internal disputes within the IRS and government.
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 If the IRS was selectively applying the mass termination directive to specific groups, it

strengthens Plaintiffs claim that the directive was not merely about cost-cutting but had an

ulterior motive.




X. The IRS Has Not Provided Evidence That These Firings Were Necessary or Neutral



If the mass termination directive was a legitimate workforce reduction measure, the government

should be able to produce documentation showing:

    ●   Budgetary justifications for the terminations

    ●    Objective criteria for selection

    ●    Internal discussions about the necessity of these mass firings

    ●    The IRS has failed to provide any of these records, suggesting that the termination

        directive was either pretextual or selectively applied.

● H the termination directive was truly neutral, why has the government failed to provide

transparency about:

● The departments impacted

● The percentage of employees terminated per division

● Any objective measures used to determine who was let go?




Until the government provides this data, its claim that the terminations were neutral and non-

retaliatory remains speculative and unverified.
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XI. The Court Should Require the Government to Disclose Evidence on the Scope and Targeting

of the Terminations




Because the government has attempted to use the broad scope of the terminations as a defense,

this Court should:


 1. Order Defendants to produce evidence of how the mass termination directive was

implemented.

2. Require a breakdown of terminations by department, region, and role to determine whether

there was a disproportionate impact on specific groups.

3. Review internal agency communications regarding the decision-making process behind the

terminations.


 If the government refuses to provide such data, it reinforces the inference that the mass firings

were not entirely neutral and that the agency is concealing its true motives.




Conclusion




    ●   The government's argument that a mass firing cannot also involve retaliation is legally

        and factually flawed.

    ●   Mass terminations can be designed to strategically eliminate specific employees, even

        while appearing broad in scope.

    ●   The IRS has provided no justification or transparency for how these firings were

        conducted, further supporting Plaintiff's claims.
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     ●   The Court should require the government to provide data proving the neutrality of its

         actions—if it cannot, the presumption of retaliation should stand.



XII. REQUEST FOR DISCOVERY AND EVIDENTIARY DISCLOSURE




Given the substantial possibility that the IRS's mass termination directive was not uniformly

applied and may have been used as a strategic tool to selectively remove certain employees or

departments, Plaintiff requests that this Court require Defendants to produce evidence clarifying

the scope, implementation, and decision-making process behind these terminations.



To evaluate the legitimacy of Defendants' claim that this was a neutral workforce reduction

rather than a pretext for retaliation and targeted downsizing. Plaintiff formally requests the

following:

1. A detailed breakdown of terminations by department, division, and region

● This will establish whether the firings were proportionally applied or disproportionately

affected certain groups.

● If certain IRS divisions were overwhelmingly affected, it would strongly suggest that the

termination directive was not purely a budgetary measure.

2. All internal IRS communications regarding the mass termination directive, including but not
limited to:


● Emails, memoranda, and reports discussing the planning, execution, and selection criteria of the
terminations.
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● Any communications involving managers or agency officials discussing the potential impact of

these terminations on internal policies or agendas.

3. A list of employees terminated under the directive, anonymized for privacy but categorized by

role and classification status


● If the IRS disproportionately targeted probationary employees or employees in specific roles,

this data will help establish a pattern of strategic downsizing rather than neutral workforce

reduction.


4. Budgetary justifications or financial analysis used to support the necessity of these

terminations


● The IRS has not provided any documentation showing that these mass firings were fiscally

necessary.


● If no clear financial basis for the terminations exists, it further strengthens the argument that


these terminations were politically or strategically motivated rather than economically driven.

5. Any policies, guidance, or directives issued to managers regarding the termination process

● This includes any training materials, official guidelines, or selection criteria that IRS leadership

provided before executing these firings.

● If no written guidelines exist, it suggests that the terminations lacked structure and oversight,

further supporting Plaintiffs due process claims.



Basis for This Request




    ●   Plaintiff has made a prima facie showing that the IRS's terminations may have been

        selectively applied, warranting discovery.
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    ●    Defendants cannot use the broad scope of the terminations as a shield to avoid scrutiny

        while simultaneously refusing to provide transparency on how they were carried out.

    ●    Courts have consistently ruled that when a plaintiff presents evidence suggesting

        potential discrimination or retaliation, discovery is warranted to determine whether the

        government’s actions were pretextual. (McDonnell Douglas Corp. v. Green. 411 U.S.

        792 (1973)).

    ●    If Defendants refuse to provide this data, the Court should draw an adverse inference

        that the terminations were not purely neutral but strategically designed. (Anderson v.

        Liberty Lobby, Inc., 477 U.S. 242 (1986)).




Conclusion




The Court's delay in ruling on Plaintiffs TRO has provided Defendants an unwarranted

procedural advantage, allowing them to construct a defense that would not have existed had the

Court ruled in a timely manner. This procedural failure necessitates corrective action.



Under Rule 26(d)(1) of the Federal Rules of Civil Procedure, courts have discretion to order

expedited discovery where procedural delays have caused prejudice (United States v. Microsoft

Corp., 165 F.3d 952, 960 (D.C. Cir. 1999)). Given that Defendants have refused to provide

substantive justification for their termination directive, expedited discovery is now the only way

to prevent further prejudice.
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Additionally, courts have recognized that when delay has allowed a defendant to obscure or

manipulate evidence, expedited discovery is appropriate to protect the integrity of the litigation

(Centeno-Bernuy v. Perry, 302 F. Supp. 2d 128, 135 (W.D.N.Y. 2003)). Here, the mass

terminations were executed under questionable circumstances, and without discovery, there is a

serious risk that key documents or data will be lost, altered, or further withheld.




Finally, equitable tolling applies to correct procedural imbalances where government delays have

unfairly harmed a plaintiffs ability to litigate (Holland v. Florida, 560 U.S. 631 (2010)). Given

that the Defendants have already exploited the delay to mount a procedural defense, the only

equitable remedy is to expedite discovery on the termination directive's scope, justification, and

implementation.

Plaintiff respectfully requests that the Court order expedited discovery on the following issues:

● The breakdown of terminated employees by department, role, and classification status;

● Internal IRS communications related to the mass termination directive;


● The financial or operational justifications, if any. for the terminations;

● Any documented selection criteria used to determine which employees were fired.

If the Defendants continue to refuse transparency, the Court should draw an adverse inference

that the termination directive was not uniformly applied and was. in fact, retaliatory.




Expedited Discovery is Warranted Regardless of Service Completion Due to the Court's Delay

in Ruling on the TRO
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Defendants may argue that formal service has not been perfected and, therefore, discovery

should not proceed. However, under the circumstances of this case, such an argument is both

disingenuous and legally unsound. Given that the Court has failed to timely rule on the TRO, the

standard procedural timeline for service should not act as a barrier to critical discovery necessary

to evaluate Plaintiffs claims.




1. Defendants Have Already Appeared and Actively Litigated

● Defendants have engaged in substantial litigation conduct, filing multiple responsive pleadings

and procedural arguments.

● By entering an appearance, filing responses, and opposing the TRO, Defendants have waived

any strict objections to service by demonstrating their full participation in this case.

● Courts have held that when a defendant has actual notice and is actively litigating, strict service


defects should not prevent necessary judicial relief (S.E.C. v. Wencke, 577 F.2d 619, 623 (9th

Cir. 1978)).




2. The Court’s Delay in Ruling on the TRO Justifies Immediate Corrective Action

● If the TRO had been ruled upon promptly, expedited discovery would not be necessary,

because Plaintiff would have already obtained relief

● The only reason discovery is now urgent is due to the procedural delay caused by the Court

itself, which allowed Defendants time to weaponize the process.

● Courts have granted expedited discovery even before formal service is completed where a party

is facing irreparable harm and delay would prejudice their case (Guttenberg v. Emery, 26 F.

Supp. 3d 88.98 (D.D.C. 2014)).
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3. Expedited Discovery is Necessary to Preserve Evidence Before it is Concealed or Destroyed

● Given the nature of Defendants' mass terminations, the risk of evidence spoliation is

substantial.


● The IRS, as a government agency, controls all internal documentation regarding the termination

directive, meaning Plaintiff has no alternative means of obtaining this infomiation.

● Courts have held that concerns about potential evidence destruction justify immediate

discovery orders, even where service is incomplete. (Elektra Entm’t Grp., Inc. v. Does 1-9, No.

04 CIV. 2289(RWS). 2004 WL 2095581, at *5 (S.D.N.Y. Sept. 8. 2004)).




4. Denying Discovery Due to Service Issues Would Reward Procedural Gamesmanship

● Defendants cannot both weaponize the delay in ruling on the TRO and then use service

objections to avoid discovery.

● The government has actively engaged with this case, has actual notice, and has had time to

mount a full procedural defense—allowing them to evade discovery now would be a gross

miscarriage of justice.

● Service-related objections should not override the urgency of investigating mass terminations

that may have violated due process.

● Courts have the inherent authority to order expedited discovery when the interests of justice

require it, even if service has not been perfected (U.S. ex rel. Shamesh v. CA, Inc.. 314 F.R.D. 1,

7(D.D.C.2016)).




5. The Court Has Inherent Authority to Order Discovery to Preserve Judicial Integrity
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● The Court is not powerless simply because service has not been formally completed.

● Federal courts have broad discretion under Rule 26(d)(1) to grant early and expedited discovery

where procedural delays have created a situation that unfairly prejudices a litigant (Disability

Rights Council of Greater Wash. v. Wash. Metro. Area Transit Auth., 234 F.R.D. 4, 7 (D.D.C.

2006)).

● Allowing procedural delays to block the truth would undermine the Court's role as an impartial

adjudicator of justice and encourage future government misconduct.



Conclusion: The Court Must Grant Discovery Despite Service Issues



Given the Court’s delay in ruling on the TRO, combined with Defendants’ full participation in

this case and the urgency of preserving evidence, the Court has both the legal authority and the

moral obligation to grant expedited discovery immediately—even in the absence of perfected

service.




This ensures that the government cannot evade accountability through procedural obstruction

while benefiting from the Court’s delay in addressing the TRO. The interests of justice demand

immediate action.




XIII. REQUEST FOR EMERGENCY PRESERVATION INJUNCTION



A. The Court Must Order Immediate Preservation of Evidence to Prevent Further Prejudice
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The IRS maintains sole control over all records, communications, and internal decision-making

materials related to the mass termination directive. Due to the Court’s delay in ruling on the


TRO, Defendants have already gained an improper procedural advantage, allowing them time to

organize a response that would not have been possible if the Court had ruled immediately. The

risk that Defendants may conceal, alter, or destroy key evidence while this case remains in

procedural limbo is a serious concern that warrants immediate Court intervention.



In light of these circumstances. Plaintiff requests an Emergency Preservation Injunction to

prevent the loss of critical evidence needed for discovery and judicial review. If Defendants

continue to withhold or manipulate information regarding the terminations, Plaintiff will be

severely prejudiced in her ability to litigate this case fairly.



B. Legal Basis for a Preservation Injunction



Federal courts have long recognized their inherent authority to issue evidence preservation orders

to prevent one party from gaining an unfair advantage through document destruction or

spoliation.




 Rule 65 of tlie Federal Rules of Civil Procedure provides authority for preliminary injunctions

when a party faces irreparable harm. If evidence is lost or destroyed, the harm cannot be

remedied through monetary damages, making injunctive relief necessary.
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 Preservation orders are particularly appropriate where the government holds exclusive control

over relevant records (Pueblo of Laguna v. United States, 60 Fed. Cl. 133 (2004)). Ifthe Court

does not act, the IRS may permanently eliminate records that could prove Plaintiff s due process

violations and retaliation claims.




 Courts have issued preservation injunctions when a delay in litigation creates a risk of evidence

loss. In Capricorn Mgmt. Sys., Inc. v. Gov't Employees Ins. Co., 2019 WL 5694256 (E.D.N.Y.

2019). the court granted an injunction where one party controlled key evidence, and a delay

created the possibility of tampering or concealment.



 Courts may also issue preservation orders under their inherent authority to protect the integrity

of litigation. In Chambers v. NASCO, Inc., 501 U.S. 32 (1991), the Supreme Court held that

federal courts have the power to prevent abuse of the judicial process, including the destruction

or withholding of evidence.



 Government agencies have been subject to preservation orders to ensure compliance with due

process obligations. In McLaughlin v. Richland Shoe Co.. 486 U.S. 128 (1988), the Court noted

that government agencies cannot manipulate procedural rules to evade accountability.



C. Plaintiffs Request for a Preservation Order
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In order to prevent further procedural manipulation and the potential destruction of evidence,

Plaintiff requests that the Court immediately issue an emergency preservation injunction,

ordering Defendants to:

1. Preserve all documents, communications, and records related to the IRS mass termination

directive, including but not limited to:

● Internal emails, memos, and correspondence discussing the decision to terminate employees.

● Any records reflecting how terminated employees were selected.

● Budgetary justifications or financial analysis used to support the mass termination.

● Performance reviews or internal notes regarding affected employees.

2. Prohibit Defendants from deleting, altering, or disposing of any electronic or physical records

related to this case.


● Any destruction or alteration of records should result in sanctions under Rule 37(e) of the

Federal Rules of Civil Procedure.


3. Order Defendants to submit a sworn declaration affirming compliance with the preservation

order.


● This would require Defendants to affirmatively state what records exist and how they are being

preserved, preventing later claims of “missing*’ evidence.

4. Require the government to disclose any policies regarding document retention and deletion.

● If the IRS has internal policies for deleting records after employment actions, the Court must be

aware of these rules to ensure that relevant evidence is not erased.




D. Failure to Grant an Injunction Would Reward Procedural Obstruction
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Defendants have already benefited from the Court's delay in ruling on the TRO, which has

given them additional time to construct procedural defenses that would not have existed if the

TRO had been granted in a timely manner.



 If the Court does not intervene now, there is nothing stopping Defendants from destroying or

altering records to further evade accountability.



 The risk of irreparable harm is high because Plaintiff has no alternative means of obtaining these

internal government documents.



 If discovery is granted later but evidence has already been destroyed, Plaintiff will have been

permanently denied a fair opportunity to litigate her claims.



E. Conclusion: The Court Must Act Now to Prevent Further Abuse of the Judicial Process




This Court has the power—and the obligation—to issue a preservation injunction to prevent

further procedural manipulation and spoliation of evidence. The only reason discovery has not

yet been ordered is due to the Court's own delay in ruling on the TRO, a delay that has already

prejudiced Plaintiffs ability to litigate fairly.



Given these circumstances, this Court should not compound the existing prejudice by allowing

Defendants to evade their responsibility to preserve critical evidence. For these reasons, Plaintiff

respectfully requests that the Court immediately issue an order preserving all documents related
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to the IRS mass termination directive and preventing Defendants from destroying or altering

relevant evidence.




XIV. The Government’s Bad Faith Litigation and the Suppressed DiMartini Declaration


Plaintiff respectfully submits that Defendants have engaged in bad faith litigation by suppressing

critical evidence and relying on procedural maneuvering rather than addressing the merits of the

case. Specifically, the recent revelation of the sworn declaration of former IRS Chief Human

Capital Officer Traci DiMartini (the “DiMartini Declaration”) exposes a fundamental Haw in

Defendants' legal arguments—a Haw that they knew about and deliberately concealed from the

Court and Plaintiff




This document, which was publicly filed in another case, directly refutes the unstated premise of

Defendants’ arguments: that the mass firings of probationary employees were conducted in a

lawful and procedurally sound manner. By failing to disclose this material evidence while

simultaneously implying that the terminations were justified. Defendants misled the Court and

violated their duty of candor.



       I. The Government’s Defense Rests on a False Premise




While Defendants stop short of explicitly claiming that the terminations were merit-based, their

entire defense strategy relies on the assumption that the firings were lawful, justified, and

procedurally valid. This is evident in three key ways:
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    1.      Defendants Present the Terminations as a Standard Government Process


● By asserting that Plaintiff has no valid claim and that reinstatement is improper. Defendants are

implicitly arguing that the firings were juslilied and lawful.

● If the terminations were arbitrary, retaliatory, or unlawful, then their legal position collapses

entirely.




    2.      Defendants Argue That Reinstatement Would Be Disruptive to Public Interest

● This argument is only relevant if the initial terminations were proper and Plaintiff has no valid

claim for reinstatement.


● If the terminations were not merit-based (as the DiMartini Declaration proves), then

reinstatement is not disruptive—it is corrective.

● The fact that Defendants attempt to frame reinstatement as an undue burden further suggests

that they want to avoid scrutiny of the termination process itself



    3.      Defendants Offer No Substantive Justification for the Firings


● Nowhere in their filings do Defendants provide a valid reason for why these terminations

occurred.


● Instead, they lean entirely on procedural objections to evade discussion of the actual facts.

● This omission is telling—if the terminations were truly Justified, they would have no reason to

avoid explaining why.



         II. The DiMartini Declaration Contradicts These Unstated Assumptions
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 The sworn DiMartini Declaration, which Defendants failed to disclose, directly refutes their


legal position.




According to this declaration, which was filed in another federal case, the IRS did not conduct

individual performance reviews, did not follow standard termination procedures, and executed

the mass firings under pressure from the Office of Personnel Management (0PM), rather than for

lawful, merit-based reasons.




        The terminations were not performance-based.


         The IRS Commissioner himself refused to sign the termination notices.

         Veterans, who should have had additional protections, were purged along with

        probationary employees.

         The decision came from external political pressure, not from a lawful internal

        review process.




 This means that the very premise of Defendants' arguments is demonstrably false.



Rather than address this evidence. Defendants deliberately suppressed it and proceeded with

misleading procedural arguments that fail to address the core issue: the terminations were

arbitrary and unlawful.
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        III. Defendants' Failure to Disclose the DiMaitini Declaration is Bad Faith Litigation




Under Rule 26(a) of the Federal Rules of Civil Procedure. Defendants had a duty to disclose “all

documents that support or contradict” their claims. The DiMartini Declaration is unquestionably

relevant evidence, and Defendants' failure to disclose it is a violation of this obligation.




Furthermore. Rule 26(e) requires parties to supplement disclosures if new information is

obtained that materially affects the case. At minimum, once the DiMartini Declaration was filed

publicly on March 7, Defendants had an obligation to disclose it—but instead, they concealed it

while submitting a response based on a now-debunked premise.



 By withholding this evidence. Defendants:

    ●   Misled the Court about the legitimacy of the terminations.

    ●    Engaged in procedural delay tactics rather than addressing the merits.

    ●    Wasted judicial resources with arguments that relied on a false premise.

    ●    Prevented Plaintiff from fully rebutting their position until discovering the

        document independently.




This is textbook bad faith litigation. If Defendants had acted in good faith, they would have

disclosed this document voluntarily, rather than forcing Plaintiff to find it through independent

research. The only logical reason for their failure to disclose it is that they knew it was damaging

to their case and sought to suppress it.
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         IV. The Appropriate Remedy: Sanctions and Expedited Discovery



Given Defendants’ misconduct, Plaintiff respectfully requests that the Court:



    1.   Impose monetary sanctions against Defendants for failure to disclose material

         evidence under Rule 37(c)(1).

    2.   Order immediate expedited discovery into IRS and 0PM communications regarding

         the terminations.


   3.    Enter an adverse inference that the terminations were unlawful and that further


         evidence would confirm this.




Defendants have demonstrated that they cannot be trusted to litigate this case in good faith.

Therefore, the only way to ensure justice is to force them to produce the full record of these

terminations immediately.



         V. REQUESTED SANCTIONS




Pursuant to Rule 37(c)(1), Plaintiff respectfully requests the following sanctions against

Defendants:




1. Monetary Sanctions of $10,000,000 for Bad-Faith Litigation Conduct
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Defendants' misconduct has:


    ●   Prolonged this case unnecessarily.

    ●   Forced Plaintiff to conduct independent investigations to obtain critical evidence.

    ●   Caused severe financial and emotional harm to Plaintiff and her family.




A $10,000,000 sanction is necessary to:

    ●   Compensate Plaintiff for the damage caused bythese bad-faith delays.

    ●   Deter future government misconduct in similar cases

    ●   Hold Defendants accountable for misleading the Court and violating procedural

        obligations.




2. Adverse Inference Against Defendants



The Court should issue an adverse inference ruling that:

● Presumes Defendants intentionally withheld the DiMarlini declaration to avoid liability.

● Holds that all reasonable inferences about these terminations should be drawn against the


government.




3. Immediate Order for Expedited Discovery



Given this document suppression, Plaintiff requests immediate discovery into:

    ●   All internal IRS and 0PM communications related to these terminations.
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    ●   Emails, directives, and meeting records discussing the firing process.

    ●   Any other suppressed evidence the government has not disclosed.




4. Court-Ordered Evidence Preservation Injunction



Plaintiff requests an injunction prohibiting Defendants from deleting, altering, or failing to

produce additional documents related to these terminations.



        VI. CONCLUSION




Defendants had a clear duty to disclose this critical document. Their failure to do so—whether

intentional or negligent—has prejudiced Plaintiff, misled the Court, and prolonged litigation.



Plaintiff respectfully requests that the Court grant this Motion for Sanctions, impose a

$10,000,000 penalty against Defendants, and order immediate discovery into further suppressed

evidence.




Defendants have engaged in bad faith litigation by deliberately withholding key evidence while

relying on misleading procedural arguments to evade accountability. Their failure to disclose the

DiMartini Declaration was not an oversight—it was an intentional act to mislead this Court and

suppress the truth about the wrongful terminations at issue.
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 Now that the truth has been uncovered. Defendants must face the consequences. Plaintiff urges

the Court to grant sanctions, compel discovery, and reject Defendants' bad-faith procedural

tactics.




 Defendants created this problem by suppressing evidence. Now, they must pay for it.




XV. CONCLUSION AND PRAYER FOR RELIEF



Defendants have failed to provide any substantive justification for their unlawful termination of

Plaintiff and instead attempt to hide behind procedural technicalities to avoid addressing the

constitutional violations at the heart of this case. Their arguments regarding CSRA exclusivity.


lack of a property interest, and absence of irreparable harm are legally and factually flawed.



The delay in ruling on Plaintiff s TRO has allowed Defendants to mount a defense that would

not have existed had the Court acted in a timely manner. This Court must not permit procedural

inefficiency to become a weapon against justice. Allowing the government to benefit from these

delays by shielding itself behind process-based defenses only incentivizes further abuse of

power.




Furthermore, the lack of transparency regarding the IRS's mass termination directive necessitates

expedited discovery to determine whether these firings were truly neutral workforce reductions

or a strategic downsizing designed to eliminate specific employees or departments.
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Given these circumstances. Plaintiff respectfully requests that this Court:

    1.   GRANT Plaintiffs Motion for a Temporary Restraining Order (TRO), reinstating her

         employment or enjoining Defendants from continuingtheir unlawful termination

         practices until full judicial review is completed.

    2.    ORDER expedited discovery to investigate the scope, implementation, and

         targeting of the IRS’s mass termination directive, including:

         ● A breakdown of terminated employees by department, role, and classification status;

         ● Internal IRS communications related to the decision-making process behind these

         terminations:



         ● The financial or operational justifications, if any, for these firings;

         ● Any documented selection criteria used to determine which employees were removed.

    3.   GRANT injunction for preservation of evidence.

    4.   GRANT requested sanctions and adverse inference

    5.   REJECT Defendants’ procedural defenses, which rely on an unjustified delay to

         evade substantive review.


    6.   REQUIRE the government to provide a justification for the delay in ruling on

         Plaintiff’s TRO, or alternatively, rule in Plaintiff’s favor given that the delay has

         already caused irreparable harm.

    7.   GRANT any additional relief this Court deems just and proper to remedy the

         ongoing harm inflicted upon Plaintiff due to the IRS’s unlawful actions and the

         Court’s delay in granting emergency relief.
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Expedited Discovery as a Corrective Measure for Procedural Delay




The Court cannot allow Defendants to leverage the delay as a shield while simultaneously

denying Plaintiff access to discovery that could reveal critical information about the true nature

of these terminations.




Under Rule 26(d)( 1) of the Federal Rules of Civil Procedure, courts have discretion to order

expedited discovery when procedural delays have prejudiced a plaintiffs ability to litigate

effectively. Courts have granted expedited discovery in cases where:

● Government delays have unfairly allowed a defendant to obscure evidence or manipulate the

litigation process (Centeno-Bernuy v. Perry, 302 F. Supp. 2d 128, 135 (W.D.N.Y. 2003)).

● A plaintiff presents evidence suggesting discrimination or retaliation, requiring transparency

from the government (McDonnell Douglas Corp. v. Green. 411 U.S. 792 (1973)).

● Equitable tolling applies to prevent proeedural delays from unfairly harming a plaintiffs ability

to obtain relief (Holland v. Florida. 560 U.S. 631 (2010)).



If Defendants refuse to provide these reeords or fail to demonstrate that the terminations were

conducted in good faith, the Court should draw an adverse inference that these terminations were

not uniformly applied and were, in faet. retaliatory or selectively enforced.



Condemning Argument Against the Government’s Exploitation of Procedural Delays
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The audacity of the government in this case cannot be overstated. Not only has the government

brazenly argued that Plaintiffs claims should be dismissed due to an alleged lack of service-

deliciency that exists solely due to the systemic barriers and procedural gamesmanship erected

by the Defendants—but they have also manipulated this Court's unwarranted and unexplained

delay in ruling on the TRO to bolster their own position. The government now contends that

reinstatement would be too burdensome because too much time has passed, a delay they


themselves engineered by refusing to address the merits of the case and instead burying Plaintiff

in layers of bureaucratic obfuscation.




This is a textbook example of bad faith litigation and procedural abuse. Defendants have not

once engaged with the substance of Plaintiff s claims while withholding key evidence. Instead,

they have stalled, obstructed, and now have the gall to claim that the very passage of time

caused by their own misconduct and this Court’s failure to rule       is itself a reason to deny relief

This is not justice. This is not the rule of law. This is pure, calculated institutional oppression

designed to exhaust and demoralize an individual litigant until they can no longer fight back.



The government also dares to argue that a mandatory injunction requiring reinstatement would

demand a much higher standard of harm, as though the destruction of Plaintiff s financial

security, the threat of eviction, and the blatant intimidation tactics used against her family by her

landlord do not meet that threshold. What greater harm must befall Plaintiff before this Court

will acknowledge the government's wrongdoing? Are we to wait until she and her three children

are forced onto the streets? Are we to accept that a small family must be ground into nothingness
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while well-paid government attorneys sit comfortably in their offices and pontificate over

procedural formalities?




If this Court rewards such vile and cynical litigation tactics, it will set a dangerous precedent that

government actors may abuse procedural delays with impunity, knowing that the courts will

ultimately shield them from accountability. The Court must not allow the Defendants to reap the

benefits of their own obstruction. To do so would not only be an egregious miscarriage of justice


but a flagrant endorsement of weaponized bureaucracy against the powerless. The time for

inaction has ended. The Court must grant immediate discovery, issue an injunction to preserve

evidence, and rule in favor of Plaintiff s TRO without delay.




This Court was established to ensure justice, not to serve as an instrument of bureaucratic

oppression. It must now decide whether it will uphold the rule of law or allow its own inaction

to facilitate government abuse.



Defendants* reliance on procedural evasion must not be rewarded. The harm to Plaintiff has

already been compounded by procedural inefficiency, financial instability, and retaliation. This

Court has a constitutional obligation to ensure that due process violations are not permitted to

persist unchecked.




For these reasons, immediate intervention is necessary, and the Court must act without further

delay to rectify the injustice inflicted upon Plaintiff.
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Respectfully submitted.



Rebecca Thornock


Pro Se Plaintiff



                   (J
March 12^'\ 2025
